Case 1:13-cv-01432-RA-KNF Document 131-11 Filed 12/29/15 Page 1of4

Exhibit 11
Case 1:13-cv-01432-RA-KNF Document 131-11 Filed 12/29/15 Page 2 of 4

 

 

From:

Co
Sent: Thu 7/12/2012 7:21 AM (GMT -7)}
To:
Coc (0

Bcc:
Subject: Fwd: Update re: @@ 3 Document Review Staffing Needs

 

We request approval for an additional 35 contract attorneys and 18 staff attorneys, in order to
complete the document review on a timely basis. The breakdown is below. We would be glad to
discuss. Regards, P.

Begin forwarded message:

From: Andrew Kutscher
Date: July 12, 2012 2:33:40 AM GMT+02:00
te
Ce
CC

 
    
 
 

Subject: RE: Update re: Document Review Staffing Needs
In addition, please find below a timeline and estimate to finish the production by
September 30th. This timeline may be optimistic as it assumes that we keep the

production to 2 million documents for first-level review and that 1.2 million, or
60%, of those documents go on to second-level review:

September 9 — Deadline for completing first-level review

September 23 ~- Deadline for completing second-level review

September 24 ~ Release final production

September 25 — 26 Fix inconsistent coding and QC the production

September 27 — LDiscovery runs fmal production

September 29 — Production complete and QE Litigation Support QC’s the media

September 30 — Production provided to opposing parties

PRIVILEGED AND CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER QE00215997
Case 1:13-cv-01432-RA-KNF Document 131-11 Filed 12/29/15 Page 3 of 4

Estimated Staffing (Allows for estimated learning curve and assumes the full
team would be in place by Monday, July 23 rd).

First-level review — 110 Providus contract attorneys solely dedicated to
document review 60 hours per week (without being pulled onto special
research projects).

Second-level review — 50 QE staff attorneys solely dedicated to document
review 60 hours per week (without bemg pulled onto special research
projects).

Estimated Cost: $8.37 million
First-level review — $3.04 million (using bill rate of $68.50)

Second-level review — $5.33 million (represents a $3.2 million savings
over regular rates)

From: Andrew Kutscher

Sent: Wednesday, July 11, 2012 5:33 PM

To

Ce:

Subject: Update re: Document Review Staffing Needs

 
   

 

I want to flag for you that we are going to require substantial additions to our
document review staffing in order to abide by Judge@g schedule of
substantial completion by the end of September. Here are the numbers - we
currently have 25 contract attorneys on the first-level review team (they each
average 500 documents a day) and 12 QE staff attorneys on the second- level
review team (who each average 400 documents a day). If current trends hold
approximately 60% of the documents reviewed by the first-level reviewers will be
marked responsive and passed to the second-level reviewers.

Our current search terms hit on nearly 2 million documents. While, we are in the
process of refining those search terms, those 2 million documents come from
roughly half of our current custodians. Given the 61 weekdays remaining
between now and the end of September, we would require a total of 65 first-level
reviewers and 49 second-level reviewers in order to review those 2 million
documents that have already been identified.

PRIVILEGED AND CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER QOFN02 145998
Case 1:13-cv-01432-RA-KNF Document 131-11 Filed 12/29/15 Page 4 of 4

We will not know exactly how many reviewers will be required until LDiscovery
finishes uploading the documents that we have collected — but the question is not
whether to add more people, rather the issue is how many people we need to add.
As an initial step, until we have a final document count from LDiscovery, we
should add 35 more contract attorneys to the first level review and 18 more staff
attorneys to the second level review. It will take some time to interview, hire, and
train the new reviewers; so, the sooner we can lineup client approval the better.

Andrew Kutscher
Associate,
Quinn Emanuel Urquhart & Sullivan, LLP

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